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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


     ROY SIPEL,

           Plaintiff,

     v.                                              CASE NO. 8:24-cv-678-SDM-SPF

     EXPERIAN INFORMATION
     SOLUTIONS, INC., et al.,

           Defendants.
     ___________________________________/


                                             ORDER

           Roy Sipel announces (Doc. 21) a settlement with Experian Information Solu-

     tions. Under Local Rule 3.09(b), the action against Experian is DISMISSED subject

     to the right of either party within sixty days (1) to submit a stipulated form of final or-

     der or (2) to move to vacate the dismissal for good cause.

            In accord with the parties’ stipulation (Doc. 23), the action against Trans Un-

     ion LLC is DISMISSED WITH PREJUDICE. The clerk must remove Trans Union

     from this case.

            Contrary to Rule 7.1, Federal Rules of Civil Procedure, and Local Rule 3.03,

     no disclosure statement for Sipel or CBM Services, Inc., appears on the docket. No

     later than OCTOBER 8, 2024, Sipel and CBM are each DIRECTED to file a com-

     plete and compliant disclosure statement on the required form. Failure to comply

     with this order might result in an order imposing a sanction.
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            Local Rule 3.02 requires that, “within forty days after any defendant appears

     in an action originating in this court,” the parties “must file a case management re-

     port using the standard form.” More than forty days elapse and no case manage-

     ment report appears. No later than OCTOBER 8, 2024, the parties are DIRECTED

     to submit a case management report, failing which an order will dismiss the action

     for failure to prosecute.

            Local Rule 1.10 requires a party to apply for a default within twenty-eight

     days “after a party’s failure to plead or otherwise defend.” Excel Medical Imaging,

     P.L., was served on March 21, 2024, and no answer or motion from Excel appears

     on the docket. Because Sipel fails to apply for a default within the time required by

     Rule 1.10, no later than OCTOBER 8, 2024, Sipel is ORDERED TO SHOW

     CAUSE why the action against Excel should not be dismissed without prejudice.

     The response must show excusable neglect, and verification is required for any state-

     ment of fact.

            ORDERED in Tampa, Florida, on September 30, 2024.




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